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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA

DARREN GLEAN and JAMES
HUNTER, individually and on behalf
of all others similarly situated,
                                                Case No.: 1:18-CV-02091-ELR
     Plaintiffs,

v.                                                 STIPULATION OF
                                                 VOLUNTARY DISMISSAL
APTOS, INC., and TEMPUR SEALY
INTERNATIONAL, INC.,

     Defendants.


        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all parties

stipulate to the dismissal without prejudice of the claims asserted in the Complaint

filed May 11, 2018, Doc. No. 1, with each party to bear its own fees and costs.

Dated: August 23, 2018                       Respectfully Submitted,


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                    CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), the undersigned counsel certifies that the

foregoing STIPULATION OF VOLUNTARY DISMISSAL was prepared in

Times New Roman, 14-point font, in accordance with Local Rule 5.1(C).

      This 23rd day of August, 2018.


                                       /s/ David J. Worley
                                       David J. Worley

                                       Attorney for Plaintiffs
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                          CERTIFICATE OF SERVICE

      I hereby certify that today I electronically filed the foregoing

STIPULATION OF VOLUNTARY DISMISSAL with the Clerk of Court using

the CM/ECF system, which will automatically send email notification of such filing

to all attorneys of record.


      This 23rd day of August, 2018.



                                        /s/ David J. Worley
                                        David J. Worley

                                        Attorney for Plaintiffs
